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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ROBERT BREUDER,

         Plaintiff,

v.
                                                     Case No. 1:15-cv-9323
BOARD OF TRUSTEES OF
COMMUNITY COLLEGE DISTRICT NO.                       Hon. Andrea R. Wood
502, DUPAGE COUNTY, ILLINOIS, a
Illinois body politic ad corporate, KATHY            Hon. Jeffrey I. Cummings
HAMILTON in her official and individual              (Magistrate)
capacity, DEANNE MAZZOCHI in her
official and individual capacity, FRANK
NAPOLITANO in his official and
individual capacity, and CHARLES
BERNSTEIN in his official and individual
capacity,

         Defendants.


      PLAINTIFF’S MEMORANDUM IN SUPPORT OF HIS RULE 36(A)(6) MOTION
           REGARDING DEFENDANT BOARD OF TRUSTEES RESPONSES
                      TO REQUESTS FOR ADMISSION
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       Plaintiff Robert L. Breuder, through his attorneys and pursuant to Rule 36(a)(6) of the

Federal Rules of Civil Procedure, hereby files this motion to deem admitted, or alternatively to

compel amended responses to, certain of his requests for admission to Defendant Board of Trustees

of Community College District No. 502, DuPage County, Illinois (the “Board” or “COD”).

                                         INTRODUCTION

       As the Court is aware, this is not your run-of-the-mill employment dispute. In October

2015, Defendants terminated Plaintiff’s employment with the College of DuPage in violation of

his employment contract and constitutionally-guaranteed due process rights on groundless and

false charges of misconduct that spanned near the entirety of his 5-year tenure as COD President.

This case thus presents not only complex legal issues but also numerous factual issues.

       In an effort to narrow those issues for trial, as well as for oral and expert discovery, Plaintiff

served the Board requests for admission pursuant to Rule 36 of the Federal Rules of Civil

Procedure on December 4, 2019 (the “RFAs”). The Board served its responses on March 16, 2020.

Despite having received an additional 70+ days to respond to Plaintiff’s RFAs, see Dkt. Nos. 248,

274, the Board’s responses to several requests grossly failed to comply with Rule 36. Specifically,

the Board skirted answering dozens of requests with meritless objections that documents were not

attached or speak for themselves, that common phrases were ambiguous, that clearly relevant

requests were irrelevant, and other baseless objections. The Board also failed to fairly respond to

the substance of requests and added unnecessary and argumentative comments to many responses.

       Plaintiff has made repeated efforts to obtain answers from the Board that comply with Rule

36, including by providing the Board with citations to case law from this and other jurisdictions

demonstrating the deficiencies of the Board’s responses. Exhs. B – D (Ltrs. from M. Eubanks to

A. Porter). While the Board did revise some of its responses on June 15, 2020, it largely failed to




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address the deficiencies raised by Plaintiff. In fact, the Board’s revised responses only

compounded the evasiveness of its prior responses. Despite his efforts to obtain compliance from

the Board, Plaintiff is forced to ask the Court to deem certain of his RFAs admitted or,

alternatively, to order the Board to amend its answers to comply with Rule 36.

        LEGAL STANDARDS APPLICABLE TO REQUESTS FOR ADMISSION

       “Requests to admit serve to narrow the issues at trial and can help parties limit the need for

extensive discovery as to issues that can be addressed through Rule 36 admissions.” Loudermilk

v. Best Pallet Co., LLC, No. 08 C 06869, 2009 U.S. Dist. LEXIS 93915, at *1 (N.D. Ill. Oct. 8,

2009). To further that aim, Rule 36 allows a responding party one of four options: (1) object; (2)

admit; (3) deny; or (4) “state in detail why the answering party cannot truthfully admit or deny

it.” FED. R. CIV. P. 36(a)(4); see also Loudermilk, 2009 U.S. Dist. LEXIS 93915, at *2.

       “A responding party that cannot admit or deny a request outright may make an admission

with a qualification or deny only part of a request.” Id. at *4. However, “[q]ualifications must be

made in good faith, and the responding party must specifically state what part of the request is true

. . . and deny only the remainder.” Id. (quotations omitted). “[T]he need for qualification does not

justify answers that add unnecessary facts or argument.” United States SEC v. Stifel, Nicolaus &

Co., No. 11-C-0755, 2016 U.S. Dist. LEXIS 113012, at *19 (E.D. Wis. Aug. 24, 2016). “A denial

must fairly respond to the substance of the matter,” FED. R. CIV. P. 36(a)(4), and “‘[i]t is expected

that denials will be forthright, specific, and unconditional.’” Stifel, 2016 U.S. Dist. LEXIS 113012,

at *3 (quoting 8B Charles Alan Wright, et al., Federal Practice & Procedure § 220 (3d ed. 2010)).

       A responding party also “is not permitted to merely rely on his lack of personal knowledge

when responding to requests to admit.” Lambert v. Owens, No. 99 C 50076, 2002 U.S. Dist. LEXIS

14789, at *2 (N.D. Ill. Aug. 9, 2002). Rather, “[t]he answering party may assert lack of knowledge




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or information as a reason for failing to admit or deny only if the party states that it has made

reasonable inquiry and that the information it knows or can readily obtain is insufficient to enable

it to admit or deny.” FED. R. CIV. P. 36(a)(4). “Whether an inquiry is reasonable depends on the

facts of the case,” but typically includes consultation of persons and documents in the responding

party’s possession, custody, or control. Loudermilk, 2009 U.S. Dist. LEXIS 93915, at *3. In that

regard, it also is improper to object on the basis that a request references a document not attached.

The attachment requirement of Rule 36(a)(2) pertains only to requests that seek admissions as to

a document’s genuineness. Whole Woman’s Health All. v. Hill, No. 1:18-cv-01904-SEB-MJD,

2020 U.S. Dist. LEXIS 35880, at *19 (S.D. Ind. Mar. 2, 2020) (“Rule 36(a)(2) applies only to ‘[a]

request to admit the genuineness of a document.’”) (quoting FED. R. CIV. P. 36(a)(2)).

       Pursuant to Rule 36(a)(6), a requesting party may file a motion with the court to determine

the sufficiency of an answer or objection. FED. R. CIV. P. 36(a)(6). If the court deems an answer

insufficient, it “may order either that the matter is admitted or that an amended answer be served.”

Id. For objections that are not justified, the court “must order that an answer be served.” Id.

            THE REQUESTS FOR ADMISSION SUBJECT TO THIS MOTION

       The Board’s responses to RFA Nos. 11, 16, 70, 153 – 156, 187 – 191, 193, 196, 197, 201,

204, 205, 207, 209, 210, 212, 215, 216, 223 – 229, 233 – 235, 281, 282, 292, 294, 456, 461, 462,

504 – 586, 630 – 632 are insufficient. Specifically, the Board’s responses contain one or more of

the following deficiencies: (a) improper objections that documents are not attached or speak for

themselves; (b) baseless relevancy objections; (c) meritless form and ambiguity objections; (d)

incorrect legal conclusions objections; (e) waived privilege assertions; (f) equivocal admissions

and partial answers; and (g) unnecessary and argumentative commentary. As set forth below, the

Court should compel the Board to answer the RFAs or, in some cases, deem the RFAs admitted.




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For ease, Plaintiff has compiled the responses subject to this motion in the attached Exhibit A.1

      A. RFA Nos. 16, 461, 462: Improper “Document Not Attached” and “Speaks for Itself”
         Objections

           RFA No. 16 asks the Board to admit facts regarding Board Policy No. 5-15 in effect during

Plaintiff’s tenure as COD President. In response, the Board “objects to this Request to the extent

it references a document that was not attached to his Requests to Admit. Stating further, the College

states that the document speaks for itself. Therefore, the College denies this Request.” Similarly,

RFA Nos. 461 and 462 ask the Board to admit facts regarding the College’s Purchasing

Department Procedures in effect during Plaintiff’s tenure as COD President. In response, the Board

“objects to this Request to the extent it references a document or documents that are not attached

to his Requests to Admit. To the extent the Request references a document or documents,

Defendant denies the Request and states further that those documents speak for themselves.” The

Board’s denials based on “document not attached” and “speaks for itself” objections are improper.

           As noted above, a responding party is obligated to make a reasonable inquiry of documents

in its possession, custody, or control. Loudermilk, 2009 U.S. Dist. LEXIS 93915, at *3. Thus, an

objection that a request references a document that is not attached is not appropriate, particularly

where, as here, the referenced documents are the responding party’s own business records. Indeed,

Rule 36 requires documents to be attached only where an admission is sought as to the genuineness

of a document. Whole Woman’s Health, 2020 U.S. Dist. LEXIS 35880, at *19 (overruling

objection that respondent could not answer request for admission without being provided

referenced document because the attachment requirement of “Rule 36(a)(2) applies only to ‘[a]

request to admit the genuineness of a document.’”) (quoting FED. R. CIV. P. 36(a)(2)).

           Moreover, it is not proper to object on the basis that documents referenced in a request


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    The Board’s complete responses to Plaintiff’s RFAs can be provided upon the Court’s request.


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“speak for themselves.” Flohr v. Comdisco, Inc., No. 01 C 3187, 2002 U.S. Dist. LEXIS 6876, at

*4 (N.D. Ill. Apr. 17, 2002) (“Flohr’s assertions that a ‘document speaks for itself’ … are no more

acceptable for Rule 36(a) purposes than they are in a responsive pleading.”). Indeed, “[t]he

contents of a specific document may or may not be disputed by a party[;]” thus, if a request

concerning the contents of a document is admitted, “the purpose of Rule 36 will be served by

narrowing the issues for trial.” United States v. Virkutis, No. 83 C 1758, 1987 U.S. Dist. LEXIS

14102, at *7-8 (N.D. Ill. Mar. 10, 1987). Accordingly, an objection that a document that “speaks

for itself,” “fails to constitute an appropriate basis for admitting or denying the Request.” Id. at *7.

        The Court should, therefore, strike the Board’s answers to RFA Nos. 16, 461, and 462 and

compel them to admit or deny these requests absent their objections. If the Board truly has a basis

to deny these requests, it must do so outright and unequivocally. Stifel, 2016 U.S. Dist. LEXIS

113012, at *3 (“‘It is expected that denials will be forthright, specific, and unconditional.’”)

(quoting 8B Charles Alan Wright, et al., Federal Practice & Procedure § 220 (3d ed. 2010)).

    B. RFA No. 70: Baseless Relevancy Objection

        RFA No. 70 asks the Board to admit that it “did not provide written notice to Breuder that

it would vote to declare the Employment Agreement, and all amendments and addenda thereto,

void ab initio on September 17, 2015.” The Board’s objection that this request is irrelevant smacks

of bad faith, as there is utterly no basis for the Board to contend that the issue of whether it provided

notice to Plaintiff before declaring his contract void is irrelevant.

        As the Seventh Circuit already determined in this matter, “a hearing is required whenever

the officeholder has a ‘legitimate claim of entitlement’ [citation omitted] to keep the job. Breuder,

who had a written contract for a term of years, assuredly had a legitimate claim of entitlement to

have the Board honor its promise.” Breuder v. Bd. of Trs. of Cmty. Coll. Dist. No. 502, 888 F.3d




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266, 270 (7th Cir. 2018). Accordingly, since “[b]oth the duration of Breuder’s tenure and the

existence of misconduct (essential to discharge him early, if the contract is valid) were debatable

subjects,” Plaintiff not only was entitled to a hearing on the validity of his employment contract,

but “[t]he members who refused even to listen to him violated his clearly established rights.” Id.

       The Board’s objection to Request No. 70 clearly is no more than a baseless attempt to skirt

admitting a fact that it clearly cannot deny. The Court, therefore, should deem RFA No. 70

admitted. At a minimum, the Board clearly should be compelled to answer RFA No. 70.

   C. RFA Nos. 187 – 191, 197, 204, 205, 209, 210, 216, 223 – 229: Baseless Relevancy
      Objections, Improper “Document Speaks for Itself” Objections, and Inappropriate
      Commentary

       RFA Nos. 187 – 191, 197, 204, 205, 209, 210, 216, 223 – 229 each ask the Board to admit

that COD claimed tax deductions for amounts it paid toward expenses and membership dues

allegedly incurred by Plaintiff at the Max McGraw Wildlife Foundation and for amounts it paid

toward expenses allegedly incurred by Plaintiff at the Waterleaf Restaurant. The Board responds

to each of these requests along the following lines:

           Defendant objects to the relevance of this Request. Stating further, to the
           extent the Plaintiff caused the College to claim tax deductions for the
           amounts paid toward Plaintiff’s Max McGraw membership dues for FY
           2010, it is more evidence of Plaintiff’s breach of his fiduciary duties.
           Further, to the extent Plaintiff references a document in this Request, the
           College believes the document speaks for itself.

See, e.g., Exh. A at RFA No. 187. These responses are insufficient on several grounds.

       First, these RFAs are relevant to the merits of the Board’s allegations that the expenses

allegedly incurred by Plaintiff were not authorized or valid business expenses and thus provided

cause for terminating his employment with COD. While the Board apparently believes that

evidence on this issue would be supportive of its affirmative claims against Plaintiff, that is not a

basis to object, particularly on relevancy. In fact, the Board’s assertions that it believes evidence



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on this issue would be supportive of its own claims demonstrates that these RFAs are relevant.

       Second, as discussed above, the Board’s objections that a referenced document “speaks for

itself” are not proper. Flohr, 2002 U.S. Dist. LEXIS 6876, at *4; Virkutis, 1987 U.S. Dist. LEXIS

14102, at *7-8. Further, Plaintiff has offered that instead of the Board answering these RFAs, that

it produce the College’s tax returns for the years in question. Exh. D at 4. The Board failed to

respond to this request. Thus, the Board’s objections that referenced documents speak for

themselves is particularly improper as it has sole possession of the documents to which these RFAs

relate and apparently refuses to produce those documents.

       Third, the Board’s assertions that the issues addressed in these RFAs would be supportive

of its affirmative claims against Plaintiff are unnecessary and argumentative. While qualifications

may be made where good faith requires, it “does not justify answers that add unnecessary facts or

argument.” Stifel, 2016 U.S. Dist. LEXIS 113012, at *19. There clearly is no good faith need for

qualification here, as the Board did not answer these RFAs. Instead, the assertions added to the

Board’s responses serve no purpose other than to assert its defenses and to trumpet its affirmative

claims against Plaintiff. Such responses are improper and must be removed from the Board’s

answers. Stifel, 2016 U.S. Dist. LEXIS 113012, at *18-19 (ordering responding party to amend

answers where qualifications “went beyond the request and added something unnecessary and

argumentative”); Flohr, 2002 U.S. Dist. LEXIS 6876, at *2 (qualification that amounted to defense

to facts stated in request improper); Meyer v. S. Pac. Lines, 199 F.R.D. 610, 615-16 (N.D. Ill.

2001) (qualification that amounted to “defense to the underlying cause of action” improper).

       For the forgoing reasons, the Court should overrule the Board’s objections and compel it

to answer RFA Nos. 187 – 191, 197, 204, 205, 209, 210, 216, 223 – 229. The Court also should

strike the inappropriate commentary included in the Board’s responses to these requests.




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   D. RFA Nos. 504 – 507, 509 – 515, 517, 518, 520 – 522, 524, 525, 527 – 534, 536 – 541, 543,
      544, 546 – 551, 553, 554, 556 – 561, 563, 564, 566 – 569, 571 – 573, 575 – 577, 579 –
      586: Baseless Relevancy Objections, Improper “Document Not Attached” and
      “Speaks for Itself” Objections, and Inappropriate Commentary

       RFA Nos. 504 – 507, 509 – 515, 517, 518, 520 – 522, 524, 525, 527 – 534, 536 – 541, 543,

544, 546 – 551, 553, 554, 556 – 561, 563, 564, 566 – 569, 571 – 573, 575 – 577, 579 – 586 each

ask the Board to admit the contents of or facts reflected in certain Board meeting packets, Board

meeting minutes, Board Treasurer’s Reports, and COD’s Schedules of Investments. For example,

RFA No. 505 ask the Board to: “Admit that the Schedule of Investments dated April 30, 2014,

reflected that the balance of the College’s investment in IMET was $10,000,853.” The Board

responds to RFA No. 505, as well as each of the other forgoing RFAs, along the following lines:

           Defendant objects to the relevance of this Request. Defendant further
           objects to the reference to a document that is not attached to the Request
           and that speaks for itself. Stating further, Defendant believes that whatever
           documents were provided to the Board by Breuder and his administrators
           concerning investments did not acknowledge to the then Board when
           particular investments were in violation of Board policy – despite the fact
           that the administration knowingly authorized investments that were in fact
           in violation of Board policy.

See, e.g., Exh. A at RFA No. 505. These responses are insufficient on several grounds.

       First, these RFAs clearly are relevant to the merits of the Board’s breach of fiduciary duty

claims against Plaintiff concerning the investment of COD funds, as well as to the Board’s charges

for termination against Plaintiff related to the same, in that they relate to the Board’s knowledge

that COD’s investments were out of compliance and acquiescence to or approval of such non-

compliance. Indeed, if the Board was given documents that showed the total amount of COD’s

investments, along with the amounts invested in each investment fund in which COD invested, the

Board would have information sufficient for it to determine whether COD’s investments complied

with Board policy that only a certain percentage of the total amount of invested COD funds could




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be invested in any one particular investment fund. If that information showed (by simple math)

that the amount invested in any one particular investment fund exceeded the percentage cap

permitted by Board policy, and yet the Board voted to approve the information and took no action

to direct the Board Treasurer or COD administration to rebalance the investments, it would be

evidence that the Board approved the non-compliance of COD’s investments. The Board presents

no basis why RFAs aimed at such issues are irrelevant, and in fact apparently concedes that these

RFAs are relevant to the issue of the Board’s knowledge and approval of the non-compliance of

COD’s investments by the improper assertions it includes in its responses.

        Second, again, the Board’s objections the documents referenced in these RFAs are not

attached and “speak for themselves” are not proper. Whole Woman’s Health, 2020 U.S. Dist.

LEXIS 35880, at *19 (overruling document not attached objections); Flohr, 2002 U.S. Dist.

LEXIS 6876, at *4 (overruling document “speaks for itself” objections). Moreover, given that the

documents referenced in these RFAs are Board business records and available on the Board’s

website,2 the Board had an obligation to make a reasonable inquiry of the documents referenced

in the RFAs. Loudermilk, 2009 U.S. Dist. LEXIS 93915, at *3; see also Stifel, 2016 U.S. Dist.

LEXIS 113012, at *11-12 (reasonable inquiry required respondent to listen to tape recordings

provided during discovery); Virkutis, 1987 U.S. Dist. LEXIS 14102, at *5-6 (reasonable inquiry

not made where defendant failed to review documents “already part of the record).

        Third, the factual assertions included in the Board’s responses are inappropriate. Again,

qualifications may be made only where good faith requires and “do[] not justify answers that add




2
 Board packets and meeting minutes for each Board meeting are available on the Board’s website at
https://www.cod.edu/about/board_of_trustees/minutes.aspx and https://www.cod.edu/about/board_of_trustees/. The
Board Treasurer’s Reports and Schedules of Investments are included in Board packets. For example, the Schedule
of Investments referenced in RFA Nos. 504 – 507 and the Board Treasurer’s Report referenced in RFA Nos. 509
and 510 can be located at https://www.cod.edu/about/board_of_trustees/pdf/packets/2014may22packet.pdf.


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unnecessary facts or argument.” Stifel, 2016 U.S. Dist. LEXIS 113012, at *19. There clearly is no

good faith need for qualification since the Board did not answer these RFAs. Instead, the assertions

added to the Board’s responses serve only to assert the Board’s defenses to the facts stated in the

RFAs and thus must be omitted from the Board’s answers. Stifel, 2016 U.S. Dist. LEXIS 113012,

at *18-19; Flohr, 2002 U.S. Dist. LEXIS 6876, at *2-3; Meyer, 199 F.R.D. at 615-16.

       For the forgoing reasons, the Court should overrule the Board’s objections and compel it

to answer RFA Nos. 504 – 507, 509 – 515, 517, 518, 520 – 522, 524, 525, 527 – 534, 536 – 541,

543, 544, 546 – 551, 553, 554, 556 – 561, 563, 564, 566 – 569, 571 – 573, 575 – 577, 579 – 586.

The Court also should strike the inappropriate commentary included in the Board’s responses.

   E. RFA Nos. 152 – 155: Meritless Form Objections

       RFA Nos. 152 and 153 ask the Board to admit that neither the DuPage County State’s

Attorney nor the United States Attorney has taken any action against COD for the loss, destruction,

or spoliation of evidence responsive to the grand jury subpoenas issued to COD in 2015. Similarly,

RFA Nos. 154 and 155 ask the Board to admit that no charges have been brought against COD as

a result of the grand jury investigations. The Board “objects to the form” of these RFAs.

       To start, the Board’s “form” objections are improper for basic reason that the Board utterly

fails to explain what about the form of these requests is objectionable. “Rule 36 requires that if

objections to the request to admit are made, ‘the reasons therefor shall be stated.’” Hunt v. Nw.

Suburban Cmty. Hosp., Inc., No. 03 C 50250, 2007 U.S. Dist. LEXIS 37157, at *8 (N.D. Ill. May

22, 2007) (quoting FED. R. CIV. P. 36(a)(5)). “[B]oilerplate objections which were not backed up

with any reason or justification,” are “unfounded” and must be stricken. Id.

       Tellingly, despite Plaintiff raising the impropriety of the Board’s “form” objections in the

parties’ Rule 37 correspondence (Exh. B at 12), the Board made no effort whatsoever to explain




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the specific basis for its objections (Exh. C). Truly, there is nothing objectionable about the “form”

of RFA Nos. 152 – 155. The reality is that the Board simply does not want to answer these requests

because a truthful answer would produce strong evidence that there was no fraud, no misuse of

taxpayer money, and no improprieties occurring at COD while Plaintiff was president. The Board’s

objections to RFA Nos. 152 – 155 are baseless and the Board should be compelled to answer.

      F. RFA Nos. 233 – 235: Meritless Ambiguity Objections

           RFA Nos. 233 – 235 ask the Board to admit that it has never taken any action against the

Foundation3 with respect to payments made by the Foundation toward Plaintiff’s Max McGraw

Wildlife Foundation membership, expenses allegedly incurred by Plaintiff at Max McGraw, or

expenses allegedly incurred by Plaintiff at the Waterleaf. The Board objects to these RFAs “to the

extent that the term “taken action against” is vague and ambiguous.” The Board’s objection is

meritless, as “taken action against” “are ordinary words that do not require definition.”

Thermapure, Inc. v. Giertsen Co. of Ill., Inc., No. 10 C 4724, 2013 U.S. Dist. LEXIS 41086, at

*10 (N.D. Ill. Mar. 25, 2013) (overruling ambiguity objections to terms and phrases such as,

“monitored,” “disposed,” “temperature indicating probes,” “gas source,” and “source of air”).

           “[A] party responding to a request for admission is required to use reason and common

sense in interpreting phrases used in the request.” Whole Woman’s Health, 2020 U.S. Dist. LEXIS

35880, at *18; see also FED. R. CIV. P. 36(a)(4) (answers “must fairly respond to the substance of

the matter”). It is clear that the Board has not done that here, and that the only reason it feigns a

confused understanding of the phrase “taken action against” is to evade an admission. Thus, the

Court should overrule the Board’s objections and compel it to answer RFA Nos. 233 – 235.




3
    The College of DuPage Foundation is a non-profit organization that raises funds for the College of DuPage.


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     G. RFA Nos. 156, 281, 282, 292, 294: Unfounded Legal Conclusion Objections

        The Board objects to RFA Nos. 156, 281, 282, 292, and 294 on the grounds that the requests

call for legal conclusions. While “[a] party cannot be asked to admit a legal conclusion[, ] ‘requests

on mixed matters of law and fact or other legal conclusions that directly relate to the facts of the

case are authorized.’” Hanley v. Como Inn, Inc., No. 99 C 1486, 2003 U.S. Dist. LEXIS 7130, at

*7-8 (N.D. Ill. Apr. 25, 2003) (quoting Hart v. Dow Chemical, 1997 U.S. Dist. LEXIS 15685, No.

95 C 1811, 1997 WL 627645, at *8 (N.D. Ill. Sept. 30, 1997)). The RFAs objected to by the Board

either do not call for legal conclusions or seek admissions as to the application of facts to law.

        RFA No. 156 asks the Board to “[a]dmit that the allegations in paragraph 1 of the

Termination Resolution amount to charges of spoliation or destruction of evidence.” Similarly,

RFA Nos. 292 and 294 ask the Board to admit that the allegations in paragraph 2 of the

Termination Resolution amount to allegations that Breuder violated Section 5-15 of the State

Officials and Employees Ethics Act (5 ILCS 430/5-15) and Section 9-25.1 of the Illinois Election

Code (10 ILCS 5/9-25.1). These requests do not call for legal conclusions. Instead, they ask the

Board to confirm its position on the meaning of the allegations set forth its resolution to terminate

Plaintiff: namely, are the allegations charges of spoliation or destruction of evidence and violations

of state statutes or not? There is no reason why the Board cannot admit or deny these requests.

        RFA No. 281 asks the Board to “[a]dmit that Foundation funds do not constitute “public

funds” under Section 9-25.1 of the Illinois Election Code, 110 ILC 5/9-25.1.” Similarly, RFA No.

282 as the Board to “[a]dmit that Foundations funds do not constitute “State property or resources”

under the Illinois State Officials and Employee Ethics Act, 5 ILCS 430 et seq.” These requests,

which ask the Board to apply the facts of this case (i.e., Foundation funds4) to applicable law (i.e.,


4
 The Board also objects that “Foundation funds” is vague and ambiguous. This objection is meritless. The Board
knows what “Foundation” refers to and “funds” is a commonly used term. Thermapure, 2013 U.S. Dist. LEXIS 41086,


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the Illinois Election Code and the Illinois State Officials and Employee Ethics Act) are proper.

Whole Woman’s Health, 2020 U.S. Dist. LEXIS 35880, at *6-9 (requests relating to application of

Indiana statutes to facts of the case were proper, even where requests sought admissions as to what

the law required or allowed); see also FRCP 36(a) advisory committee’s note to 1970 amendment

(example of application of fact to law is whether “the premises on which said accident occurred,

were occupied or under the control of one of the defendants”) (internal cite and quotes omitted).5

        For the forgoing reasons, the Court should overrule the Board’s objections and compel it

to answer RFA Nos. 156, 281, 282, 292, and 294.

     H. RFA No. 456: Waived Privilege Assertion

        RFA No. 456 asks the Board to “[a]dmit that during Breuder’s tenure as COD President,

the College’s legal counsel advised the College that construction management services were

commonly considered as professional services exempt from a formal bidding process under the

Illinois Public Community College Act, 110 ILCS 805/3-27.1.” The Board objects based on

attorney-client privilege. While Plaintiff does not dispute that RFA No. 456 concerns a privileged

communication, the Board has waived the privilege by disclosure to the Illinois Auditor General.

        Specifically, the Illinois Auditor General’s Performance Audit Report of COD states:

             According to College officials, in January 2015 the College’s previous
             Legal Counsel had advised the College that construction management
             services were commonly being considered as professional services. The
             Illinois Public Community College Act (110 ILCS 805/3-27.1) indicates
             that “contracts for the services of individuals possessing a high degree of

at *9 (ambiguity objections to “Water Out trailer” “border[ed] on frivolous” where respondent’s own use of the term
made clear he “knows full well” what it meant); Flohr, 2002 U.S. Dist. LEXIS 6876, at *2-3 (ambiguity objections to
"Comdisco insider" and "one of its top executives" deemed “really nonsense” because the terms are familiar terms).
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  See also Phan v. Convergent Outsourcing, Inc., No. 3:14-CV-84-J-25JBT, 2014 U.S. Dist. LEXIS 191988, 2014
WL 12623815, at *3 (M.D. Fla. July 16, 2014) (request to admit that “Defendant used an ‘automatic dialing system’
within the meaning of the TCPA” deemed proper); Heartland Surgical Specialty Hosp., LLC v. Midwest Div., Inc.,
No. 05-2164-MLB-DWB, 2007 U.S. Dist. LEXIS 80182, 2007 WL 3171768, at *5 (D. Kan. Oct. 29, 2007) (request
to admit “that no state law required an identified Defendant to contract with [plaintiff]” deemed proper); Caruso v.
Coleman Co., No. CIV. A. 93-CV-6733, 1995 U.S. Dist. LEXIS 7934, 1995 WL 347003, at *4 (E.D. Pa. June 7, 1995)
(request to admit that a corporation was a citizen of a particular state under 28 U.S.C. § 1332 deemed proper);


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            professional skill where the ability or fitness of the individual plays an
            important part” (commonly referred to as professional services) are exempt
            from the formal bidding process.

Ill. Auditor General, Performance Audit Report of College of DuPage, 73 (Sept. 2016), available

at       https://www.auditor.illinois.gov/Audit-Reports/Performance-Special-Multi/Performance-

Audits/2016_Releases/16-College-of-DuPage-Perf-Full.pdf.

        The Board cannot voluntarily waive privilege and then reassert it when the Board finds it

convenient to do so. Once the privilege is waived, it is waived. Vardon Golf Co. v. Karsten Mfg.

Corp., 213 F.R.D. 528, 532 (N.D. Ill. 2003) (“voluntary disclosure of privileged communications

waives the privilege . . . .”). Thus, the Court should compel the Board to answer RFA No. 456.

     I. RFA No. 11: Partial Answer

        RFA No. 11 asks the Board to admit that annual audits were conducted by an external

auditor, Crowe Horwath, “in accordance with Board Policy No. 5-15.” While “the College admits

that Crowe Horwath conducted audits of the College for each of FY 2009-2014,” it neither admits

nor denies that the audits were conducted in accordance with Board Policy No. 5-15. As stated in

Rule 36(a), “[i]f a matter is not admitted, the answer must specifically deny it or state in detail why

the answering party cannot truthfully admit or deny it.” FED. R. CIV. P. 36(a)(4). Plaintiff’s counsel

raised this issue in the parties’ Rule 37 correspondence, Exh. D at 2 n.1, but the Board failed to

respond or revise its answer. Accordingly, the Court should deem RFA No. 11 admitted in full.

     J. RFA Nos. 508, 516, 519, 523, 526, 535, 542, 545, 552, 555, 562, 565, 570, 574, 578:
        Equivocal Admissions and Inappropriate Qualifications

        The Board answers that it “believes the allegations” in RFA Nos. 508, 516, 519, 523, 526,

535, 542, 545, 552, 555, 562, 565, 570, 574, 578 “to be correct.” Such equivocal admissions are

improper. The Board had an obligation to conduct a reasonable inquiry to determine whether the

allegations in these requests was true or not. Loudermilk, 2009 U.S. Dist. LEXIS 93915, at *3; see



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also Stifel, 2016 U.S. Dist. LEXIS 113012, at *11-12; Virkutis, 1987 U.S. Dist. LEXIS 14102, at

*5-6. Proof of the allegations set forth in these requests is contained in the Board Treasurer’s

Reports and Schedule of Investments, which are available on the Board’s website. See supra at 10

n.2. There is no reason the Board could not consult those documents to unequivocally admit these

RFAs. Since it appears that an admission is appropriate, the Court should deem admitted RFA

Nos. 508, 516, 519, 523, 526, 535, 542, 545, 552, 555, 562, 565, 570, 574, 578.

        Further, the Court should strike the inappropriate qualifications stated along with the

Board’s equivocal admissions. The Board states in response to these requests: “To the extent the

allegation is correct, it provides further evidence of Plaintiff’s breach of his fiduciary duties – both

because his administration knowingly authorized the investment of funds in violation of Board

policy and because they concealed that fact from the Board.” See, e.g., Exh. A at RFA No. 508.

These statements do not serve to avoid an improper inference from the Board’s equivocal

admissions and instead serve only to state the Board’s defenses and trumpet its affirmative claims

against Plaintiff. The statements are improper and must be stricken. Stifel, 2016 U.S. Dist. LEXIS

113012, at *18-19; Flohr, 2002 U.S. Dist. LEXIS 6876, at *2-3; Meyer, 199 F.R.D. at 615-16.

    K. RFA Nos. 193, 201, 207, 212, 630 – 32: Inappropriate Qualifications

        Although the Board admits RFA Nos. 193, 201, 207 and 212, it adds that the exhibits

referenced in the requests are “further evidence of Plaintiff’s breach of his fiduciary duties.”

Similarly, in response to RFA Nos. 630 – 632, which the Board denies, the Board states its belief

that the requests are a “disingenuous attempt to escape responsibility for the failings of the Breuder

administration that were pointed out by the Auditor General.” Again, qualifications like these

which do not serve to protect against an improper inference to be drawn from an admission and

are meant only to state defenses are improper and must be stricken. Stifel, 2016 U.S. Dist. LEXIS




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113012, at *18-19; Flohr, 2002 U.S. Dist. LEXIS 6876, at *2-3; Meyer, 199 F.R.D. at 615-16.

                                         CONCLUSION

       WHEREFORE Plaintiff respectfully requests that the Court enter an order granting the

relief requested herein or for any other relief the Court deems appropriate.




Dated: August 28, 2020                               Respectfully submitted,

                                                     /s/ Melissa N. Eubanks
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                                CERTIFICATE OF SERVICE

       Melissa N. Eubanks, an attorney, states that a copy of the attached

    PLAINTIFF’S MEMORANDUM IN SUPPORT OF HIS RULE 36(A)(6) MOTION
              REGARDING DEFENDANT BOARD OF TRUSTEES
                 RESPONSES TO REQUESTS FOR ADMISSION

will be caused to be served upon all counsel of record via electronic notification by the United
States District Court's ECF System on August 28, 2020.


                                                     _/s/ Melissa N. Eubanks
